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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                       )               CASE NO. 8:05CR390
                                                )
                      Plaintiff,                )
                                                )
v.                                              )
                                                )
CAMERON TRAVUS FORD,                            )
                                                )
                      Defendant.                )



                         BRIEF IN SUPPORT OF DEFENDANT’S
                                  MOTION TO SEVER

         The Defendant has filed a motion to sever Counts I and II for trial. This brief is

submitted in support of such motion.

                                       STATEMENT OF FACTS

         The following recitation of facts is derived from discovery tendered by the

government.

         Counts I and II both involve alleged events of August 27, 2005.        In the early

morning hours of that date, an Omaha police officer observed a group of people in the

middle of North 44th Avenue near Pratt Street.       As the officer approached, he saw two

subjects place containers on the ground, and as he got still closer, the officer recognized

one of the subjects as the Defendant. According to the officer, he recognized the

Defendant as a gang member with a prior weapon and drug possession history.

         The officer alleges that the Defendant was reaching toward his waist band,

prompting the officer to draw his service weapon and to order the Defendant to show his

hands. The officer maintains that the Defendant did not comply and that the Defendant
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continued to reach toward his waistband, at which point the officer heard a “thud” sound.

After handcuffing the Defendant, the officer maintains that he found a 9 mm pistol on the

ground in the same location.

       On August 27, 2005, the Defendant was charged in a Douglas County District Court

information with felony possession of a controlled substance.         Further investigation

disclosed that the pistol had been stolen on or about January 23, 2005.

                                   LAW AND ARGUMENT

       Fed. R. Crim. P. 8(a) defines the bounds of proper joinder of counts. Joinder is

proper in any of three scenarios: (1) where the counts are of the same or similar character;

(2) where the counts are based on the same act or transactions; and (3) where the counts

are connected with or constitute parts of a common scheme or plan. Admittedly, threshold

joinder is proper here since both counts concern the same set of events and the same

firearm.

       Apart from whether joinder is proper in the first instance under Rule 8(a), there is

also the issue of whether a joint trial would present prejudice under Rule 14(a). In this

case, if the possession of a stolen firearm count is tried with the count alleging possession

of a firearm while under felony indictment, the prejudice is obvious and unavoidable. In a

separate trial of the stolen firearm count, the jury would not hear any evidence that on the

date of the events the Defendant was then facing a felony charge in Douglas County

District Court for possession of a controlled substance.        Once the pendency of an

unrelated felony charge is put before the jury, the tendency for that to morph into improper

character evidence is manifest.       No amount of limiting closing arguments or jury

instructions will solve the problem. The only sure remedy is severance.

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         This sort of “spill over” prejudice has been noted as a basis for severance in many

circuit court decisions. For example, in United States v. Davis the court stated, “[p]rejudice

may result from a possibility that the jury might use evidence of one crime to infer guilt on

the other or that the jury might cumulate the evidence to find guilt on all crimes when it

would not have found guilt if the crimes were considered separately.” United States v.

Davis, 103 F.3d 660, 676 (8th Cir. 1996); Drew v. United States, 331 F.2d 85, 88 (D.C.

Cir.1964).

         Many circuit court decisions in this area center upon the prejudice inherent in joinder

of felon in possession counts.        In such a case, without severance, the past felony

conviction gets before the jury where it otherwise would not.            Severance becomes

necessary to avoid the otherwise unavoidable prejudice. See e.g., United States v.

Joshua, 976 F.2d 844 (3rd Cir. 1992); United States v. Dockery, 955 F.2d 50 (D.C. Cir.

1992).       The differences between a past felony conviction and a pending felony

information will be a meaningless nuance at a practical level. Either one will spell “bad

guy” in the minds of the jurors. As such, the two counts should not be jointly tried.

                                      CONCLUSION

         While the Defendant concedes that joinder is proper under Rule 8(a), the only

remedy for the prejudicial joinder of the two counts is separate trials. The Defendant

respectfully requests that the Court so order.




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                                          CAMERON TRAVUS FORD, Defendant,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 15, 2006, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to the
following: Michael D. Wellman, Assistant United States Attorney, Omaha, NE.

                                                   s/ Jeffrey L. Thomas




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